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      SO. CAL. EQUAL ACCESS GROUP
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      JARDINE GOUGIS
 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      JARDINE GOUGIS,                                   Case No.: 2:24-cv-01173 RGK (MRWx)
11
12                 Plaintiff,                           NOTICE OF VOLUNTARY
                                                        DISMISSAL OF ENTIRE ACTION
13          vs.                                         WITH PREJUDICE
14
      ESCO WORLD, INC. D/B/A BASKIN
15    ROBBINS; 1217-1219 CENTRAL, LLC;
16    and DOES 1 to 10,
                   Defendants.
17
18
19
            PLEASE TAKE NOTICE that Plaintiff JARDINE GOUGIS (“Plaintiff”)
20
      pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses
21
      the entire action with prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1)
22
      which provides in relevant part:
23
            (a) Voluntary Dismissal.
24
                   (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
25
                          and any applicable federal statute, the plaintiff may dismiss an action
26
                          without a court order by filing:
27
28


                                                    1
                     NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
     Case 2:24-cv-01173-RGK-MRW       Document 17     Filed 03/29/24   Page 2 of 2 Page ID
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 1                       (i)   A notice of dismissal before the opposing party serves either an
 2                             answer or a motion for summary judgment.
 3    None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4    summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5    Court.
 6
 7    DATED: March 29, 2024                 SO. CAL. EQUAL ACCESS GROUP
 8
 9
10                                          By:     /s/ Jason J. Kim
                                                  Jason J. Kim, Esq.
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                                                  Attorneys for Plaintiff
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                    NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
